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 1                                                                    HONORABLE THOMAS S. ZILLY

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 7
                                   UNITED STATES DISTRICT COURT
 8                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 9
     HUNTERS CAPITAL, LLC et al.,
10                                                       Case No. 20-cv-00983 TSZ
                             Plaintiffs,
11                                                       DECLARATION OF SHANE P. CRAMER
                 v.                                      IN SUPPORT OF CITY OF SEATTLE’S
12                                                       MOTION FOR SUMMARY JUDGMENT
     CITY OF SEATTLE,
13
                             Defendant.
14

15

16          I, Shane P. Cramer, declare as follows:

17          1.        I am one of the attorneys representing the City of Seattle in this action. I am over

18   age 18, competent to be a witness, and making this declaration based on facts within my own

19   personal knowledge.

20          2.        Attached as Exhibit 1 is a true and correct copy of an article published by The

21   Seattle Times dated May 29, 2020 titled, “Sparked by death of George Floyd, Seattle protesters

22   clash with police ”. This article was collected from this website:

23   https://www.seattletimes.com/seattle-news/protesters-break-windows-clash-with-police-in-

24   downtown-seattle/ on September 16, 2021.

25          3.        Attached as Exhibit 2 is a true and correct copy of an article published by The New


     DECLARATION OF SHANE P. CRAMER - 1                                                   LAW OFFICES
                                                                          HARRIGAN LEYH FARMER & THOMSEN LLP
     (Case No. 20-cv-00983 TSZ)                                                  999 THIRD AVENUE, SUITE 4400
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 1   York Times dated November 5, 2021 titled, “George Floyd Protests: A Timeline ”. This article

 2   was collected from this website: https://www.nytimes.com/article/george-floyd-protests-

 3   timeline.html on January 30, 2022.

 4          4.     Attached as Exhibit 3 is a true and correct copy of excerpts from the deposition of

 5   Former Seattle Mayor Jenny Durkan taken in this matter on December 8, 2021.

 6          5.     Attached as Exhibit 4 is a true and correct copy of excerpts from the deposition of

 7   Seattle Fire Department Chief Harold Scoggins taken in this matter on September 14, 2021.

 8          6.     Attached as Exhibit 5 is a true and correct copy of the Mayoral Proclamation of

 9   Civil Emergency for the City of Seattle signed May 30, 2020 by Mayor Jenny Durkan. This

10   document was collected from this website on February 19, 2022: https://durkan.seattle.gov/wp-

11   content/uploads/sites/9/2020/05/0897_001.pdf .

12          7.     Attached as Exhibit 6 is a true and correct copy of excerpts from the deposition of

13   Seattle Police Department Assistant Police Chief Thomas Mahaffey taken in this matter on

14   January 26, 2022.

15          8.     Attached as Exhibit 7 is a true and correct copy of excerpts from the deposition of

16   Matthew Ploszaj taken in this matter on June 10, 2021.

17          9.     Attached as Exhibit 8 is a true and correct copy of excerpts from the deposition of

18   Stephanie Formas taken in this matter on April 30, 2022.

19          10.    Attached as Exhibit 9 is a true and correct copy of excerpts from the deposition of

20   Former Seattle Police Chief Carmen Best taken in this matter on November 9, 2021.

21          11.    Attached as Exhibit 10 is a true and correct copy of excerpts from the deposition of

22   Former Seattle Department of Transportation Director Sam Zimbabwe taken in this matter on

23   October 28, 2021.

24          12.    Attached as Exhibit 11 is a true and correct copy of an email exchange amongst

25   several City of Seattle employees, including Seattle Transportation Director Sam Zimbabwe, dated


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 1   June 10, 2020 with an attached map of street barriers. This document has been produced in this

 2   matter by the City of Seattle under Bates number SEA_00137341 – SEA_00137346. This

 3   document was marked as exhibit 8 to the deposition of Sam Zimbabwe.

 4           13.   Attached as Exhibit 12 is a true and correct copy of that same email with

 5   attachments provided in color.

 6           14.   Attached as Exhibit 13 is a true and correct copy of an email exchange amongst

 7   several employees of the Seattle Police Department dated June 16, 2020 with an attached map of

 8   barrier placement. This document has been produced in this matter by the City of Seattle under

 9   Bates number SEA-SPD_006803 – SEA-SPD_006804 and was marked as deposition exhibit 15

10   during the January 26, 2022 deposition of Assistant Police Chief Thomas Mahaffey.

11           15.   Attached as Exhibit 14 is a true and correct copy of excerpts from Plaintiff’s

12   Answers and Responses to Defendant City of Seattle’s Second Discovery Requests dated May 10,

13   2021.

14           16.   Attached as Exhibit 15 is a true and correct copy of excerpts from the deposition of

15   Former General Manager and CEO of Seattle Public Utilities Mami Hara taken in this matter on

16   October 4, 2021.

17           17.   Attached as Exhibit 16 is a true and correct copy of excerpts from the deposition of

18   John McDermott, SRJ d/b/a Car Tender’s Rule 30(b)(6) designee, taken in this matter on

19   January 19, 2022.

20           18.   Attached as Exhibit 17 is a true and correct copy of excerpts from the deposition of

21   Wade Biller, Onyx Homeowners Association’s Rule 30(b)(6) designee, taken in this matter on

22   December 10, 2021.

23           19.   Attached as Exhibit 18 is a true and correct copy of a PowerPoint presentation

24   titled, Seattle Fire Department Response to protests and CHAZ/ CHOP presented by Chief

25   Scoggins in August 2021 to the NHSC (National Homeland Security Conference). This document


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 1   has been produced in this matter by the City of Seattle under Bates number SEA_00144709 and

 2   was marked as deposition exhibit 5 during the September 14, 2021 deposition of Chief Harold

 3   Scoggins.

 4          20.     Attached as Exhibit 19 is a true and correct copy of an email dated June 12, 2020

 5   sent to officers within the Seattle Police Department by Jason Verhoff. This document has been

 6   produced in this matter by the City of Seattle under Bates number SEA-SPD_005983 – SEA-

 7   SPD_005984 and was marked as deposition exhibit 2 during the January 26, 2022 deposition of

 8   Assistant Police Chief Thomas Mahaffey.

 9          21.     Attached as Exhibit 20 is a true and correct copy of excerpts from the deposition of

10   Joey Furuto taken in this matter on March 18, 2022.

11          22.     Attached as Exhibit 21 is a true and correct copy of excerpts from the June 3, 2022

12   rebuttal report of Plaintiffs’ Expert Arik Van Zandt.

13          23.     Attached as Exhibit 22 is a true and correct copy of Executive Order 2020-08

14   signed on June 30, 2020 by Mayor Jenny Durkan. This document has been produced in this matter

15   by the City of Seattle under Bates number SEA_00045264 – SEA_00045268 was marked as

16   deposition exhibit 1 during the December 8, 2021 deposition of Mayor Jenny Durkan.

17          24.     Attached as Exhibit 23 is a true and correct copy of an email dated June 20, 2020

18   from Mayor Jenny Durkan to Police Chief, Carmen Best and Fire Chief, Harold Scoggins. This

19   document has been produced in this matter by the City of Seattle under Bates number

20   SEA_00125617 and was marked as deposition exhibit 2 during the December 8, 2021 deposition

21   of Mayor Jenny Durkan.

22          25.     Attached as Exhibit 24 is a true and correct copy of the Complaint for Damages on

23   Behalf of Black Lives Matter Protesters for Wrongful Death, Personal Injuries and Civil Rights

24   Violations in the matter of The Estate of Summer Jolie Williams Taylor, et al. v. City of Seattle and

25   State of Washington (King County Superior Court Case No. 20-2-14351-1 SEA).


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 1           26.     Attached as Exhibit 25 is a true and correct copy of Dkt. No. 1, Complaint, filed

 2   June 9, 2020 in the matter of Black Lives Matter Seattle-King County, et al. v. City of Seattle Case

 3   No. 2:20-cv-887-RAJ, (USDC-WDWA).

 4           27.     Attached as Exhibit 26 is a true and correct copy of Dkt. No. 34, Order Granting in

 5   Part Motion for Temporary Restraining Order, filed June 12, 2020 in the matter of Black Lives

 6   Matter of Seattle-King County, et. al. v. City of Seattle and City of Seattle Police Department (Case

 7   No. 2:20-cv-00887-RAJ, USDC-WDWA).

 8           28.     Attached as Exhibit 27 is a true and correct copy of Dkt. No. 3-1, Settlement

 9   Agreement and Stipulated [Proposed] Order of Resolution, filed July 27, 2012 in the matter of

10   United States of America v. City of Seattle (Case No. 2:12-cv-01282-JLR, USDC-WDWA).

11           29.     Attached as Exhibit 28 is a true and correct copy of excerpts from the deposition of

12   Lonnie Thompson, Bergman’s Lock and Key Rule 30(b)(6) designee, taken in this matter on

13   May 4, 2021.

14           30.     Attached as Exhibit 29 is a true and correct copy of excerpts from the deposition of

15   Sean Sheffer, Shuffle LLC d/b/a Cure Cocktails’ Rule 30(b)(6) designee, taken in this matter on

16   May 18, 2021.

17           31.     Attached as Exhibit 30 is a true and correct copy of excerpts from the deposition of

18   Bill Donner, Richmark Label’s Rule 30(b)(6) designee, taken in this matter on November 16,

19   2021.

20           32.     Attached as Exhibit 31 is a true and correct copy of excerpts from the deposition of

21   Tamara Kilburn, Sway and Cake’s Rule 30(b)(6) designee, taken in this matter on May 7, 2021.

22           33.     Attached as Exhibit 32 is a true and correct copy of a excerpts from the deposition

23   of Joseph Wanagel, Olive ST Apartments’ Rule 30(b)(6) designee, taken in this matter on May 21,

24   2021.

25           34.     Attached as Exhibit 33 is a true and correct copy of a excerpts from the deposition


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              Case 2:20-cv-00983-TSZ Document 112 Filed 09/29/22 Page 6 of 8




 1   of Seth Stoughton, taken in this matter on August 30, 2022.

 2          35.     Attached as Exhibit 34 is a true and correct copy of a excerpts from the deposition

 3   of Jon Shane, Ph.D., taken in this matter on August 11, 2022.

 4          36.     Attached as Exhibit 35 is a true and correct copy of a excerpts from the deposition

 5   of Arik Van Zandt, taken in this matter on September 14, 2022.

 6          37.     Attached as Exhibit 36 is a true and correct copy of a letter dated March 26, 2020

 7   sent to Hunters Capital / Lots II, from Kim Ellis, Sr. Vice-President of Real Estate and

 8   Development for GameStop. This document has been produced in this matter by plaintiffs under

 9   Bates number CHOP-0027040.

10          38.     Attached as Exhibit 37 is a true and correct copy of an email exchange dated July

11   17 - 20, 2020 between Greg Bellinger of Hunters Capital tenant, White Rabbit and Jill Cronauer of

12   Hunters Capital. This document has been produced in this matter by plaintiffs under Bates number

13   CHOP-0014726-0014727.

14          39.     Attached as Exhibit 38 is a true and correct copy of an email exchange dated April

15   – July, 2020 between a Hunters Capital tenant and Jill Cronauer of Hunters Capital. This

16   document has been produced in this matter by plaintiffs under Bates number CHOP-0004594 -

17   0004606. This document is being provisionally filed under seal.

18          40.     Attached as Exhibit 39 is a true and correct copy of a notice dated May 29, 2020

19   posted by The Riveter on their website. This document was marked as Exhibit 81 to the

20   September 30, 2021 deposition of Jill Cronauer. It was most recently accessed September 28,

21   2022 by my office staff at this website: https://theriveter.co/spaces-update/.

22          41.     Attached as Exhibit 40 is a true and correct copy of an email exchange dated

23   August – November, 2020 between a Hunters Capital tenant and Jill Cronauer of Hunters Capital.

24   This document has been produced in this matter by plaintiffs under Bates number CHOP-0012168

25   - 0012174. This document is being provisionally filed under seal.


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 1          42.     Attached as Exhibit 41 is a true and correct copy of a excerpts from the deposition

 2   of Andrea Augustine Curtis, taken in this matter on September 26, 2022.

 3          43.     Attached as Exhibit 42 is a true and correct copy of excerpts from the June 3, 2022

 4   rebuttal report of City of Seattle’s Expert William Partin. This document is being provisionally

 5   filed under seal.

 6          44.     Attached as Exhibit 43 is a true and correct copy of excerpts from the deposition of

 7   Michael Malone, taken in this matter on August 22, 2022.

 8          45.     Attached as Exhibit 44 is a true and correct copy of a letter dated June 24, 2020

 9   sent to Jill Cronauer and Amy Nelson of Hunters Capital from Mike Fong, Senior Deputy Mayor

10   for the City of Seattle. This document has been produced in this matter by plaintiffs under Bates

11   number CHOP-0000718-0000719.

12          46.     Attached as Exhibit 45 is a true and correct copy of an email exchange dated

13   March 7, 2022 between Wade Bill and other members of the Onyx Homeowners Associations

14   Board of Directors. This document has been produced in this matter by plaintiffs under Bates

15   number CHOP-0055420 - 0055421.

16          47.     Attached as Exhibit 46 is a true and correct copy of excerpts from the deposition of

17   Jill Cronauer, taken in this matter on September 32, 2021.

18          48.     Attached as Exhibit 47 is a true and correct copy of Plaintiffs’ Supplemental

19   Response to Amended Interrogatory No. 3.

20          49.     Attached as Exhibit 48 is a true and correct copy of an article from

21   www.capitolhillseattle.com, which was marked as Exhibit 210 during the September 14, 2022

22   deposition of Arik Van Zandt.

23          50.     Attached as Exhibit 49 is a true and correct copy of an excerpt from the Expert

24   Report of Arik Van Zandt in this action.

25          51.     Attached as Exhibit 50 is a true and correct copy of an excerpt of Chapter 1 of the


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 1   Seattle Fire Code, which my staff accessed on September 29, 2022 at

 2   https://www.seattle.gov/documents/Departments/SDCI/Codes/SeattleFireCode/2018SFCChapter1.

 3   pdf.

 4           I swear under the penalty of perjury under the laws of the United States that the foregoing

 5   is true and correct.

 6           DATED this 29th day of September, 2022, at Seattle, Washington.

 7
                                                  s/Shane P. Cramer
 8                                                SHANE P. CRAMER
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